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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 In re APPLICATION OF THE COMMITTEE
 ON THE JUDICIARY, U.S. HOUSE OF    Grand Jury No. 19-48 (BAH)
 REPRESENTATIVES, FOR AN ORDER
 AUTHORIZING THE RELEASE OF         Chief Judge Beryl A. Howell
 CERTAIN GRAND JURY MATERIALS




                                              ORDER

       Upon consideration of the Declaration of Bradley Weinsheimer, Ex. 10, Department of

Justice’s (“DOJ”) Resp. to App. of House Judiciary Committee (“HJC”) for an Order

Authorizing Release of Certain Grand Jury Materials (“DOJ Resp.”), ECF No. 20-10; the ex

parte, in camera version of the Declaration of Bradley Weinsheimer, see Min. Ord. (Sept. 12,

2019); DOJ’s Supplemental Submission in Response to Minute Order of Oct. 8, 2019 (“DOJ

Supp.”), ECF No. 40; the Second Declaration of Bradley Weinsheimer; HJC’s Response to

DOJ’s Second Supplemental Submission, ECF No. 41; the arguments presented at the Hearing

on October 8, 2019, see Hr’g Tr., ECF No. 38, and the entire record herein, for the reasons stated

in the accompanying Memorandum Opinion Directing DOJ to Unseal Portion of Declaration

Improperly Redacted Under FED. R. CRIM. P. 6(e), it is hereby:


       ORDERED that DOJ must refile the Declaration of Bradley Weinsheimer, Ex. 10, DOJ

Resp., ECF No. 20-10, with the following portions unredacted:


   1. The first sentence of paragraph four.

   2. The second sentence of paragraph four from the first word through the phrase “with the
      exceptions of.”


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3. The final sentence of paragraph four.



   SO ORDERED.



   DATE: October 17, 2019

                                               __________________________

                                               BERYL A. HOWELL
                                               Chief Judge




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